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                                                                        ELEVATOR             1                                                                              Unit Number
                                                                        Opening 01           2       24th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall      Frame Joint Damage       Replace
                                                                        Opening 01           2       24th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall      Frame Joint Damage       Replace
                                                                        Opening 01           2       24th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall      Frame Joint Damage       Replace
                                                                        UNIT 2401            3                                                                              Unit Number
                                                                        Opening 01           4       24th Floor - UNIT 2401 - Opening 01 - Triple Single Hung Window        Service and Clean
                                                                        Opening 02           5       24th Floor - UNIT 2401 - Opening 02 - Triple Single Hung Window        Service and Clean
                                                                        Opening 03           6       24th Floor - UNIT 2401 - Opening 03 .- Single Hung Window              Service and Clean
                                                                        Opening 04           7       24th Floor - UNIT 2401 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04           7       24th Floor - UNIT 2401 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05           8       24th Floor - UNIT 2401 - Opening 05 - Double Single Hung Window        Service and Clean
                                                                        Opening 06           9       24th Floor - UNIT 2401 - Opening 06 - Three Panel Sliding Glass Door   Service and Clean
                                                                                                                                                                                                                                                         386




                                                                        UNIT 2402           10                                                                              Unit Number
                                                                        Opening 01         11        24th Floor - UNIT 2402 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         11        24th Floor - UNIT 2402 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         12        24th Floor - UNIT 2402 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03         13        24th Floor - UNIT 2402 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         13        24th Floor - UNIT 2402 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         13        24th Floor - UNIT 2402 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 2403           14                                                                              Unit Number
                                                                        Opening 01         15        24th Floor - UNIT 2403 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         15        24th Floor - UNIT 2403 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         15        24th Floor - UNIT 2403 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         15        24th Floor - UNIT 2403 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         16        24th Floor - UNIT 2403 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         16        24th Floor - UNIT 2403 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         16        24th Floor - UNIT 2403 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace




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                                                                        Opening 03         17        24th Floor - UNIT 2403 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                   Case 1:18-cv-21365-KMW Document 109-4 Entered on FLSD Docket 12/21/2018 Page 30 of
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                                                                        Opening 03        17        24th Floor - UNIT 2403 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        17        24th Floor - UNIT 2403 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        17        24th Floor - UNIT 2403 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        17        24th Floor - UNIT 2403 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        17        24th Floor - UNIT 2403 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 2404          18                                                                              Unit Number
                                                                        Opening 01        19        24th Floor - UNIT 2404 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        19        24th Floor - UNIT 2404 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        20        24th Floor - UNIT 2404 - Opening 02 - Three Panel Sliding Glass Door   Frame Movement           Replace
                                                                        Opening 02        20        24th Floor - UNIT 2404 - Opening 02 - Three Panel Sliding Glass Door   Frame Movement           Replace
                                                                        Opening 03        21        24th Floor - UNIT 2404 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        21        24th Floor - UNIT 2404 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                                                        386




                                                                        Opening 03        21        24th Floor - UNIT 2404 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        23        24th Floor - UNIT 2405 - Opening 01 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 01        23        24th Floor - UNIT 2405 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        23        24th Floor - UNIT 2405 - Opening 01 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 02        24        24th Floor - UNIT 2405 - Opening 02 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 02        24        24th Floor - UNIT 2405 - Opening 02 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 03        25        24th Floor - UNIT 2405 - Opening 03 .- Single Hung Window              Service and Clean
                                                                        Opening 04        26        24th Floor - UNIT 2405 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04        26        24th Floor - UNIT 2405 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05        27        24th Floor - UNIT 2405 - Opening 05 - Double Single Hung Window        Service and Clean
                                                                        Opening 06        28        24th Floor - UNIT 2405 - Opening 06 - Three Panel Sliding Glass Door   Water Damage             Replace
                                                                        Opening 06        28        24th Floor - UNIT 2405 - Opening 06 - Three Panel Sliding Glass Door   Frame Movement           Replace




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                                                                        ELEVATOR             1                                                                              Unit Number
                                                                        Opening 01           2       25th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall      Frame Joint Damage       Replace
                                                                        Opening 01           2       25th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall      Frame Joint Damage       Replace
                                                                        UNIT 2501            3                                                                              Unit Number
                                                                        Opening 01           4       25th Floor - UNIT 2501 - Opening 01 - Triple Single Hung Window        Limited Access
                                                                        Opening 02           5       25th Floor - UNIT 2501 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       25th Floor - UNIT 2501 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       25th Floor - UNIT 2501 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       25th Floor - UNIT 2501 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03           6       25th Floor - UNIT 2501 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 03           6       25th Floor - UNIT 2501 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 04           7       25th Floor - UNIT 2501 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                                                         386




                                                                        Opening 05           8       25th Floor - UNIT 2501 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05           8       25th Floor - UNIT 2501 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06           9       25th Floor - UNIT 2501 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06           9       25th Floor - UNIT 2501 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06           9       25th Floor - UNIT 2501 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        UNIT 2502           10                                                                              Unit Number
                                                                        Opening 01         11        25th Floor - UNIT 2502 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         11        25th Floor - UNIT 2502 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         11        25th Floor - UNIT 2502 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 01         11        25th Floor - UNIT 2502 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         12        25th Floor - UNIT 2502 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         12        25th Floor - UNIT 2502 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         12        25th Floor - UNIT 2502 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03         13        25th Floor - UNIT 2502 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         13        25th Floor - UNIT 2502 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace




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                                                                        Opening 03         13        25th Floor - UNIT 2502 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                   Case 1:18-cv-21365-KMW Document 109-4 Entered on FLSD Docket 12/21/2018 Page 80 of
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                                                                        Opening 03        13        25th Floor - UNIT 2502 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 2503          14                                                                              No Key
                                                                        Opening 01        15        25th Floor - UNIT 2503 - Opening 01 - Triple Single Hung Window        No Key
                                                                        Opening 02        16        25th Floor - UNIT 2503 - Opening 02 - Three Panel Sliding Glass Door   No Key
                                                                        Opening 03        17        25th Floor - UNIT 2503 - Opening 03 - Triple Single Hung Window        No Key
                                                                        Opening 01        19        25th Floor - UNIT 2504 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        19        25th Floor - UNIT 2504 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        19        25th Floor - UNIT 2504 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        19        25th Floor - UNIT 2504 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        20        25th Floor - UNIT 2504 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02        20        25th Floor - UNIT 2504 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03        21        25th Floor - UNIT 2504 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
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                                                                        Opening 03        21        25th Floor - UNIT 2504 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        21        25th Floor - UNIT 2504 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        21        25th Floor - UNIT 2504 - Opening 03 - Triple Single Hung Window        Hard To Operate           Repair
                                                                        Opening 03        21        25th Floor - UNIT 2504 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        21        25th Floor - UNIT 2504 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 2505          22                                                                              Unit Number
                                                                        Opening 01        23        25th Floor - UNIT 2505 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        23        25th Floor - UNIT 2505 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        23        25th Floor - UNIT 2505 - Opening 01 - Triple Single Hung Window        Water Damage             Replace
                                                                        Opening 01        23        25th Floor - UNIT 2505 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        23        25th Floor - UNIT 2505 - Opening 01 - Triple Single Hung Window        Hard To Operate           Repair
                                                                        Opening 02        24        25th Floor - UNIT 2505 - Opening 02 - Triple Single Hung Window        Hard To Operate           Repair
                                                                        Opening 02        24        25th Floor - UNIT 2505 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        24        25th Floor - UNIT 2505 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        24        25th Floor - UNIT 2505 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace




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                                                                        Opening 02        24        25th Floor - UNIT 2505 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                  Case 1:18-cv-21365-KMW Document 109-4 Entered on FLSD Docket 12/21/2018 Page 81 of
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                                                                        Opening 03        25        25th Floor - UNIT 2505 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 03        25        25th Floor - UNIT 2505 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 04        26        25th Floor - UNIT 2505 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04        26        25th Floor - UNIT 2505 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05        27        25th Floor - UNIT 2505 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05        27        25th Floor - UNIT 2505 - Opening 05 - Double Single Hung Window        Hard To Operate           Repair
                                                                        Opening 05        27        25th Floor - UNIT 2505 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05        27        25th Floor - UNIT 2505 - Opening 05 - Double Single Hung Window        Frame Movement           Replace
                                                                        Opening 05        27        25th Floor - UNIT 2505 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06        28        25th Floor - UNIT 2505 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06        28        25th Floor - UNIT 2505 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
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                                                                        ELEVATOR             1                                                                              No Entry
                                                                        Opening 01           2       26th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall      No Entry
                                                                        UNIT 2601            3                                                                              Unit Number
                                                                        Opening 01           4       26th Floor - UNIT 2601 - Opening 01 - Triple Single Hung Window        Service and Clean
                                                                        Opening 02           5       26th Floor - UNIT 2601 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       26th Floor - UNIT 2601 - Opening 02 - Triple Single Hung Window        Water Damage             Replace
                                                                        Opening 02           5       26th Floor - UNIT 2601 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03           6       26th Floor - UNIT 2601 - Opening 03 .- Single Hung Window              Service and Clean
                                                                        Opening 04           7       26th Floor - UNIT 2601 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04           7       26th Floor - UNIT 2601 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05           8       26th Floor - UNIT 2601 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05           8       26th Floor - UNIT 2601 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                                                         386




                                                                        Opening 06           9       26th Floor - UNIT 2601 - Opening 06 - Three Panel Sliding Glass Door   Service and Clean
                                                                        UNIT 2602           10                                                                              Unit Number
                                                                        Opening 01         11        26th Floor - UNIT 2602 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         11        26th Floor - UNIT 2602 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         11        26th Floor - UNIT 2602 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         12        26th Floor - UNIT 2602 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         12        26th Floor - UNIT 2602 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         12        26th Floor - UNIT 2602 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03         13        26th Floor - UNIT 2602 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         13        26th Floor - UNIT 2602 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 2603           14                                                                              No Key
                                                                        Opening 01         15        26th Floor - UNIT 2603 - Opening 01 - Triple Single Hung Window        No Key
                                                                        Opening 02         16        26th Floor - UNIT 2603 - Opening 02 - Three Panel Sliding Glass Door   No Key
                                                                        Opening 03         17        26th Floor - UNIT 2603 - Opening 03 - Triple Single Hung Window        No Key
                                                                        UNIT 2604           18                                                                              No Key




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                                                                        Opening 01         19        26th Floor - UNIT 2604 - Opening 01 - Triple Single Hung Window        No Key
                                                                                                                                                                                                                   Case 1:18-cv-21365-KMW Document 109-4 Entered on FLSD Docket 12/21/2018 Page 123 of
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                                                                        Opening 02        20        26th Floor - UNIT 2604 - Opening 02 - Three Panel Sliding Glass Door   No Key
                                                                        Opening 03        21        26th Floor - UNIT 2604 - Opening 03 - Triple Single Hung Window        No Key
                                                                        UNIT 2605          22                                                                              Unit Number
                                                                        Opening 01        23        26th Floor - UNIT 2605 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        23        26th Floor - UNIT 2605 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        24        26th Floor - UNIT 2605 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        24        26th Floor - UNIT 2605 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        24        26th Floor - UNIT 2605 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        25        26th Floor - UNIT 2605 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 04        26        26th Floor - UNIT 2605 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04        26        26th Floor - UNIT 2605 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05        27        26th Floor - UNIT 2605 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                                                        386




                                                                        Opening 05        27        26th Floor - UNIT 2605 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06        28        26th Floor - UNIT 2605 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06        28        26th Floor - UNIT 2605 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06        28        26th Floor - UNIT 2605 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace




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                                                                        ELEVATOR             1                                                                              Unit Number
                                                                        Opening 01           2       27th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall      Frame Joint Damage       Replace
                                                                        Opening 01           2       27th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall      Frame Joint Damage       Replace
                                                                        UNIT 2701            3                                                                              Unit Number
                                                                        Opening 01           4       27th Floor - UNIT 2701 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01           4       27th Floor - UNIT 2701 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01           4       27th Floor - UNIT 2701 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       27th Floor - UNIT 2701 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       27th Floor - UNIT 2701 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       27th Floor - UNIT 2701 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       27th Floor - UNIT 2701 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03           6       27th Floor - UNIT 2701 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                                                                                                                                                                                                         386




                                                                        Opening 03           6       27th Floor - UNIT 2701 - Opening 03 .- Single Hung Window              Damaged Glass Stop       Replace
                                                                        Opening 03           6       27th Floor - UNIT 2701 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 04           7       27th Floor - UNIT 2701 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04           7       27th Floor - UNIT 2701 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04           7       27th Floor - UNIT 2701 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04           7       27th Floor - UNIT 2701 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05           8       27th Floor - UNIT 2701 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05           8       27th Floor - UNIT 2701 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05           8       27th Floor - UNIT 2701 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06           9       27th Floor - UNIT 2701 - Opening 06 - Three Panel Sliding Glass Door   Service and Clean
                                                                        UNIT 2702           10                                                                              Unit Number
                                                                        Opening 01         11        27th Floor - UNIT 2702 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         11        27th Floor - UNIT 2702 - Opening 01 - Triple Single Hung Window        Limited Access
                                                                        Opening 01         11        27th Floor - UNIT 2702 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         12        27th Floor - UNIT 2702 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace




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                                                                        Opening 03         13        27th Floor - UNIT 2702 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                   Case 1:18-cv-21365-KMW Document 109-4 Entered on FLSD Docket 12/21/2018 Page 175 of
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                                                                        Opening 03        13        27th Floor - UNIT 2702 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03        13        27th Floor - UNIT 2702 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03        13        27th Floor - UNIT 2702 - Opening 03 - Triple Single Hung Window        Limited Access
                                                                        UNIT 2703          14                                                                              Unit Number
                                                                        Opening 01        15        27th Floor - UNIT 2703 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        15        27th Floor - UNIT 2703 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        15        27th Floor - UNIT 2703 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        16        27th Floor - UNIT 2703 - Opening 02 - Three Panel Sliding Glass Door   Service and Clean
                                                                        Opening 03        17        27th Floor - UNIT 2703 - Opening 03 - Triple Single Hung Window        Service and Clean
                                                                        UNIT 2704          18                                                                              Unit Number
                                                                        Opening 01        19        27th Floor - UNIT 2704 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        19        27th Floor - UNIT 2704 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                                                        386




                                                                        Opening 01        19        27th Floor - UNIT 2704 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        19        27th Floor - UNIT 2704 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        19        27th Floor - UNIT 2704 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        20        27th Floor - UNIT 2704 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03        21        27th Floor - UNIT 2704 - Opening 03 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 03        21        27th Floor - UNIT 2704 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        21        27th Floor - UNIT 2704 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        21        27th Floor - UNIT 2704 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        21        27th Floor - UNIT 2704 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 2705          22                                                                              Unit Number
                                                                        Opening 01        23        27th Floor - UNIT 2705 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        23        27th Floor - UNIT 2705 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        23        27th Floor - UNIT 2705 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 02        24        27th Floor - UNIT 2705 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        24        27th Floor - UNIT 2705 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace




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                                                                        Opening 02        24        27th Floor - UNIT 2705 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                  Case 1:18-cv-21365-KMW Document 109-4 Entered on FLSD Docket 12/21/2018 Page 176 of
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                                                                        Opening 03        25        27th Floor - UNIT 2705 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 04        26        27th Floor - UNIT 2705 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04        26        27th Floor - UNIT 2705 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04        26        27th Floor - UNIT 2705 - Opening 04 - Double Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 04        26        27th Floor - UNIT 2705 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05        27        27th Floor - UNIT 2705 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05        27        27th Floor - UNIT 2705 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05        27        27th Floor - UNIT 2705 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05        27        27th Floor - UNIT 2705 - Opening 05 - Double Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 06        28        27th Floor - UNIT 2705 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06        28        27th Floor - UNIT 2705 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06        28        27th Floor - UNIT 2705 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                                                                                                                                                                                                        386




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                                                                        ELEVATOR             1                                                                              Unit Number
                                                                        Opening 01           2       28th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall      Frame Joint Damage       Replace
                                                                        Opening 01           2       28th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall      Frame Joint Damage       Replace
                                                                        Opening 01           2       28th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall      Frame Joint Damage       Replace
                                                                        UNIT 2801            3                                                                              Unit Number
                                                                        Opening 01           4       28th Floor - UNIT 2801 - Opening 01 - Triple Single Hung Window        Broken Balance           Replace
                                                                        Opening 02           5       28th Floor - UNIT 2801 - Opening 02 - Triple Single Hung Window        Service and Clean
                                                                        Opening 03           6       28th Floor - UNIT 2801 - Opening 03 .- Single Hung Window              Damaged Glass Stop       Replace
                                                                        Opening 03           6       28th Floor - UNIT 2801 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 03           6       28th Floor - UNIT 2801 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 03           6       28th Floor - UNIT 2801 - Opening 03 .- Single Hung Window              Damaged Glass Stop       Replace
                                                                        Opening 04           7       28th Floor - UNIT 2801 - Opening 04 - Double Single Hung Window        Limited Access
                                                                                                                                                                                                                                                         386




                                                                        Opening 04           7       28th Floor - UNIT 2801 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04           7       28th Floor - UNIT 2801 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05           8       28th Floor - UNIT 2801 - Opening 05 - Double Single Hung Window        Limited Access
                                                                        Opening 05           8       28th Floor - UNIT 2801 - Opening 05 - Double Single Hung Window        Hard To Operate           Repair
                                                                        Opening 06           9       28th Floor - UNIT 2801 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        UNIT 2802           10                                                                              Unit Number
                                                                        Opening 01         11        28th Floor - UNIT 2802 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         11        28th Floor - UNIT 2802 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         11        28th Floor - UNIT 2802 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         11        28th Floor - UNIT 2802 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         11        28th Floor - UNIT 2802 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         12        28th Floor - UNIT 2802 - Opening 02 - Three Panel Sliding Glass Door   Service and Clean
                                                                        Opening 03         13        28th Floor - UNIT 2802 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         13        28th Floor - UNIT 2802 - Opening 03 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 03         13        28th Floor - UNIT 2802 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace




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                                                                        Opening 03         13        28th Floor - UNIT 2802 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                   Case 1:18-cv-21365-KMW Document 109-4 Entered on FLSD Docket 12/21/2018 Page 227 of
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                                                                        UNIT 2803          14                                                                              Unit Number
                                                                        Opening 01        15        28th Floor - UNIT 2803 - Opening 01 - Triple Single Hung Window        Water Damage             Replace
                                                                        Opening 01        15        28th Floor - UNIT 2803 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        15        28th Floor - UNIT 2803 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        15        28th Floor - UNIT 2803 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        15        28th Floor - UNIT 2803 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        16        28th Floor - UNIT 2803 - Opening 02 - Three Panel Sliding Glass Door   Service and Clean
                                                                        Opening 03        17        28th Floor - UNIT 2803 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        17        28th Floor - UNIT 2803 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        17        28th Floor - UNIT 2803 - Opening 03 - Triple Single Hung Window        Limited Access
                                                                        Opening 03        17        28th Floor - UNIT 2803 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        17        28th Floor - UNIT 2803 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                                                        386




                                                                        UNIT 2804          18                                                                              Unit Number
                                                                        Opening 01        19        28th Floor - UNIT 2804 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        19        28th Floor - UNIT 2804 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        20        28th Floor - UNIT 2804 - Opening 02 - Three Panel Sliding Glass Door   Service and Clean
                                                                        Opening 03        21        28th Floor - UNIT 2804 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03        21        28th Floor - UNIT 2804 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 2805          22                                                                              Unit Number
                                                                        Opening 01        23        28th Floor - UNIT 2805 - Opening 01 - Triple Single Hung Window        Limited Access
                                                                        Opening 02        24        28th Floor - UNIT 2805 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        24        28th Floor - UNIT 2805 - Opening 02 - Triple Single Hung Window        Hard To Operate           Repair
                                                                        Opening 02        24        28th Floor - UNIT 2805 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        24        28th Floor - UNIT 2805 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        25        28th Floor - UNIT 2805 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 03        25        28th Floor - UNIT 2805 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 04        26        28th Floor - UNIT 2805 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace




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                                                                        Opening 04        26        28th Floor - UNIT 2805 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                  Case 1:18-cv-21365-KMW Document 109-4 Entered on FLSD Docket 12/21/2018 Page 228 of
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                                                                        Opening 04        26        28th Floor - UNIT 2805 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05        27        28th Floor - UNIT 2805 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05        27        28th Floor - UNIT 2805 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05        27        28th Floor - UNIT 2805 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06        28        28th Floor - UNIT 2805 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06        28        28th Floor - UNIT 2805 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06        28        28th Floor - UNIT 2805 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06        28        28th Floor - UNIT 2805 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06        28        28th Floor - UNIT 2805 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
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                                                                        ELEVATOR             1                                                                                Unit Number
                                                                        Opening 01           2       29th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall        Frame Joint Damage       Replace
                                                                        Opening 01           2       29th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall        Frame Joint Damage       Replace
                                                                        UNIT 2901            3                                                                                Refused Entry
                                                                        Opening 01           4       29th Floor - UNIT 2901 -   Opening 01 - Triple Single Hung Window        Refused Entry
                                                                        Opening 02           5       29th Floor - UNIT 2901 -   Opening 02 - Triple Single Hung Window        Refused Entry
                                                                        Opening 03           6       29th Floor - UNIT 2901 -   Opening 03 - Single Hung Window               Refused Entry
                                                                        Opening 04           7       29th Floor - UNIT 2901 -   Opening 04 - Single Hung Window               Refused Entry
                                                                        Opening 05           8       29th Floor - UNIT 2901 -   Opening 05 - Single Hung Window               Refused Entry
                                                                        Opening 06           9       29th Floor - UNIT 2901 -   Opening 06 - Double Single Hung Window        Refused Entry
                                                                        Opening 07         10        29th Floor - UNIT 2901 -   Opening 07 - Three Panel Sliding Glass Door   Refused Entry
                                                                        Opening 08         11        29th Floor - UNIT 2901 -   Opening 08 - Triple Single Hung Window        Refused Entry
                                                                                                                                                                                                                                                           386




                                                                        Opening 09         12        29th Floor - UNIT 2901 -   Opening 09 - Three Panel Sliding Glass Door   Refused Entry
                                                                        Opening 10         13        29th Floor - UNIT 2901 -   Opening 10 - Triple Single Hung Window        Refused Entry
                                                                        UNIT 2902           14                                                                                Unit Number
                                                                        Opening 01         15        29th Floor - UNIT 2902 - Opening 01 - Triple Single Hung Window          Frame Joint Damage       Replace
                                                                        Opening 01         15        29th Floor - UNIT 2902 - Opening 01 - Triple Single Hung Window          Frame Joint Damage       Replace
                                                                        Opening 01         15        29th Floor - UNIT 2902 - Opening 01 - Triple Single Hung Window          Frame Joint Damage       Replace
                                                                        Opening 02         16        29th Floor - UNIT 2902 - Opening 02 - Three Panel Sliding Glass Door     Service and Clean
                                                                        Opening 03         17        29th Floor - UNIT 2902 - Opening 03 - Triple Single Hung Window          Limited Access
                                                                        Opening 03         17        29th Floor - UNIT 2902 - Opening 03 - Triple Single Hung Window          Frame Joint Damage       Replace
                                                                        UNIT 2903           18                                                                                Unit Number
                                                                        Opening 01         19        29th Floor - UNIT 2903 - Opening 01 - Triple Single Hung Window          Service and Clean
                                                                        Opening 02         20        29th Floor - UNIT 2903 - Opening 02 - Triple Single Hung Window          Service and Clean
                                                                        Opening 03         21        29th Floor - UNIT 2903 - Opening 03 - Single Hung Window                 Service and Clean
                                                                        Opening 04         22        29th Floor - UNIT 2903 - Opening 04 - Single Hung Window                 Service and Clean
                                                                        Opening 05         23        29th Floor - UNIT 2903 - Opening 05 - Single Hung Window                 Service and Clean




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                                                                        Opening 06         24        29th Floor - UNIT 2903 - Opening 06 - Double Single Hung Window          Service and Clean
                                                                                                                                                                                                                     Case 1:18-cv-21365-KMW Document 109-4 Entered on FLSD Docket 12/21/2018 Page 264 of
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                                                                        Opening 07        25        29th Floor - UNIT 2903 -   Opening 07 - Three Panel Sliding Glass Door   Water Damage             Replace
                                                                        Opening 07        25        29th Floor - UNIT 2903 -   Opening 07 - Three Panel Sliding Glass Door   Water Damage             Replace
                                                                        Opening 07        25        29th Floor - UNIT 2903 -   Opening 07 - Three Panel Sliding Glass Door   Water Damage             Replace
                                                                        Opening 08        26        29th Floor - UNIT 2903 -   Opening 08 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 09        27        29th Floor - UNIT 2903 -   Opening 09 - Three Panel Sliding Glass Door   Service and Clean
                                                                        Opening 10        28        29th Floor - UNIT 2903 -   Opening 10 - Triple Single Hung Window        Frame Joint Damage       Replace
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                                                                        ELEVATOR            1                                                                                 No Entry
                                                                        Opening 01          2        30th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall        No Entry
                                                                        UNIT 3001           3                                                                                 Unit Number
                                                                        Opening 01          4        30th Floor - UNIT 3001 -   Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01          4        30th Floor - UNIT 3001 -   Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01          4        30th Floor - UNIT 3001 -   Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02          5        30th Floor - UNIT 3001 -   Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02          5        30th Floor - UNIT 3001 -   Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02          5        30th Floor - UNIT 3001 -   Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02          5        30th Floor - UNIT 3001 -   Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03          6        30th Floor - UNIT 3001 -   Opening 03 - Single Hung Window               Frame Movement           Replace
                                                                        Opening 03          6        30th Floor - UNIT 3001 -   Opening 03 - Single Hung Window               Frame Joint Damage       Replace
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                                                                        Opening 03          6        30th Floor - UNIT 3001 -   Opening 03 - Single Hung Window               Frame Movement           Replace
                                                                        Opening 04          7        30th Floor - UNIT 3001 -   Opening 04 - Single Hung Window               Frame Joint Damage       Replace
                                                                        Opening 04          7        30th Floor - UNIT 3001 -   Opening 04 - Single Hung Window               Frame Movement           Replace
                                                                        Opening 04          7        30th Floor - UNIT 3001 -   Opening 04 - Single Hung Window               Frame Joint Damage       Replace
                                                                        Opening 04          7        30th Floor - UNIT 3001 -   Opening 04 - Single Hung Window               Frame Movement           Replace
                                                                        Opening 05          8        30th Floor - UNIT 3001 -   Opening 05 - Single Hung Window               Damaged Glass Stop       Replace
                                                                        Opening 05          8        30th Floor - UNIT 3001 -   Opening 05 - Single Hung Window               Frame Joint Damage       Replace
                                                                        Opening 06          9        30th Floor - UNIT 3001 -   Opening 06 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06          9        30th Floor - UNIT 3001 -   Opening 06 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 07         10        30th Floor - UNIT 3001 -   Opening 07 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 07         10        30th Floor - UNIT 3001 -   Opening 07 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 08         11        30th Floor - UNIT 3001 -   Opening 08 - Triple Single Hung Window        Limited Access
                                                                        Opening 08         11        30th Floor - UNIT 3001 -   Opening 08 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 08         11        30th Floor - UNIT 3001 -   Opening 08 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 08         11        30th Floor - UNIT 3001 -   Opening 08 - Triple Single Hung Window        Frame Joint Damage       Replace




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                                                                        Opening 08         11        30th Floor - UNIT 3001 -   Opening 08 - Triple Single Hung Window        Frame Joint Damage       Replace
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                                                                        Opening 09        12        30th Floor - UNIT 3001 - Opening 09 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 10        13        30th Floor - UNIT 3001 - Opening 10 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 10        13        30th Floor - UNIT 3001 - Opening 10 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 3002          14                                                                              Unit Number
                                                                        Opening 01        15        30th Floor - UNIT 3002 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        15        30th Floor - UNIT 3002 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        15        30th Floor - UNIT 3002 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        15        30th Floor - UNIT 3002 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        16        30th Floor - UNIT 3002 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02        16        30th Floor - UNIT 3002 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03        17        30th Floor - UNIT 3002 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        17        30th Floor - UNIT 3002 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
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                                                                        Opening 03        17        30th Floor - UNIT 3002 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        17        30th Floor - UNIT 3002 - Opening 03 - Triple Single Hung Window        Hard To Operate           Repair
                                                                        UNIT 3003          18                                                                              Unit Number
                                                                        Opening 01        19        30th Floor - UNIT 3003 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        19        30th Floor - UNIT 3003 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        19        30th Floor - UNIT 3003 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01        19        30th Floor - UNIT 3003 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        20        30th Floor - UNIT 3003 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02        20        30th Floor - UNIT 3003 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03        21        30th Floor - UNIT 3003 - Opening 03 - Single Hung Window               Frame Joint Damage       Replace
                                                                        Opening 03        21        30th Floor - UNIT 3003 - Opening 03 - Single Hung Window               Frame Joint Damage       Replace
                                                                        Opening 04        22        30th Floor - UNIT 3003 - Opening 04 - Single Hung Window               Frame Joint Damage       Replace
                                                                        Opening 04        22        30th Floor - UNIT 3003 - Opening 04 - Single Hung Window               Frame Joint Damage       Replace
                                                                        Opening 05        23        30th Floor - UNIT 3003 - Opening 05 - Single Hung Window               Frame Joint Damage       Replace
                                                                        Opening 05        23        30th Floor - UNIT 3003 - Opening 05 - Single Hung Window               Frame Joint Damage       Replace




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                                                                        Opening 06        24        30th Floor - UNIT 3003 - Opening 06 - Double Single Hung Window        Frame Joint Damage       Replace
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                                                                        Opening 06        24        30th Floor - UNIT 3003 -   Opening 06 - Double Single Hung Window        Frame Movement           Replace
                                                                        Opening 06        24        30th Floor - UNIT 3003 -   Opening 06 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06        24        30th Floor - UNIT 3003 -   Opening 06 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 07        25        30th Floor - UNIT 3003 -   Opening 07 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 08        26        30th Floor - UNIT 3003 -   Opening 08 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 08        26        30th Floor - UNIT 3003 -   Opening 08 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 08        26        30th Floor - UNIT 3003 -   Opening 08 - Triple Single Hung Window        Limited Access
                                                                        Opening 08        26        30th Floor - UNIT 3003 -   Opening 08 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 08        26        30th Floor - UNIT 3003 -   Opening 08 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 09        27        30th Floor - UNIT 3003 -   Opening 09 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 09        27        30th Floor - UNIT 3003 -   Opening 09 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 10        28        30th Floor - UNIT 3003 -   Opening 10 - Triple Single Hung Window        Frame Joint Damage       Replace
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                                                                        Opening 10        28        30th Floor - UNIT 3003 -   Opening 10 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 10        28        30th Floor - UNIT 3003 -   Opening 10 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 10        28        30th Floor - UNIT 3003 -   Opening 10 - Triple Single Hung Window        Frame Joint Damage       Replace




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                                                                        ELEVATOR             1                                                                                Unit Number
                                                                        Opening 01           2       31st Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall        Frame Joint Damage       Replace
                                                                        Opening 01           2       31st Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall        Frame Joint Damage       Replace
                                                                        UNIT 3101            3                                                                                Refused Entry
                                                                        Opening 01           4       31st Floor - UNIT 3101 -   Opening 01 - Triple Single Hung Window        Refused Entry
                                                                        Opening 02           5       31st Floor - UNIT 3101 -   Opening 02 - Triple Single Hung Window        Refused Entry
                                                                        Opening 03           6       31st Floor - UNIT 3101 -   Opening 03 - Single Hung Window               Refused Entry
                                                                        Opening 04           7       31st Floor - UNIT 3101 -   Opening 04 - Single Hung Window               Refused Entry
                                                                        Opening 05           8       31st Floor - UNIT 3101 -   Opening 05 - Single Hung Window               Refused Entry
                                                                        Opening 06           9       31st Floor - UNIT 3101 -   Opening 06 - Double Single Hung Window        Refused Entry
                                                                        Opening 07         10        31st Floor - UNIT 3101 -   Opening 07 - Three Panel Sliding Glass Door   Refused Entry
                                                                        Opening 08         11        31st Floor - UNIT 3101 -   Opening 08 - Triple Single Hung Window        Refused Entry
                                                                                                                                                                                                                                                           386




                                                                        Opening 09         12        31st Floor - UNIT 3101 -   Opening 09 - Three Panel Sliding Glass Door   Refused Entry
                                                                        Opening 10         13        31st Floor - UNIT 3101 -   Opening 10 - Triple Single Hung Window        Refused Entry
                                                                        UNIT 3102           14                                                                                Unit Number
                                                                        Opening 01         15        31st Floor - UNIT 3102 - Opening 01 - Triple Single Hung Window          Damaged Glass Stop       Replace
                                                                        Opening 01         15        31st Floor - UNIT 3102 - Opening 01 - Triple Single Hung Window          Water Damage             Replace
                                                                        Opening 01         15        31st Floor - UNIT 3102 - Opening 01 - Triple Single Hung Window          Limited Access
                                                                        Opening 01         15        31st Floor - UNIT 3102 - Opening 01 - Triple Single Hung Window          Frame Joint Damage       Replace
                                                                        Opening 02         16        31st Floor - UNIT 3102 - Opening 02 - Three Panel Sliding Glass Door     Frame Joint Damage       Replace
                                                                        Opening 02         16        31st Floor - UNIT 3102 - Opening 02 - Three Panel Sliding Glass Door     Frame Joint Damage       Replace
                                                                        Opening 03         17        31st Floor - UNIT 3102 - Opening 03 - Triple Single Hung Window          Limited Access
                                                                        Opening 03         17        31st Floor - UNIT 3102 - Opening 03 - Triple Single Hung Window          Frame Joint Damage       Replace
                                                                        UNIT 3103           18                                                                                Unit Number
                                                                        Opening 01         19        31st Floor - UNIT 3103 -   Opening 01 - Triple Single Hung Window        Service and Clean
                                                                        Opening 02         20        31st Floor - UNIT 3103 -   Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         20        31st Floor - UNIT 3103 -   Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace




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                                                                        Opening 02         20        31st Floor - UNIT 3103 -   Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
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                                                                        Opening 03        21        31st Floor - UNIT 3103 - Opening 03 - Single Hung Window               Frame Joint Damage       Replace
                                                                        Opening 03        21        31st Floor - UNIT 3103 - Opening 03 - Single Hung Window               Frame Joint Damage       Replace
                                                                        Opening 04        22        31st Floor - UNIT 3103 - Opening 04 - Single Hung Window               Frame Joint Damage       Replace
                                                                        Opening 05        23        31st Floor - UNIT 3103 - Opening 05 - Single Hung Window               Limited Access
                                                                        Opening 06        24        31st Floor - UNIT 3103 - Opening 06 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06        24        31st Floor - UNIT 3103 - Opening 06 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06        24        31st Floor - UNIT 3103 - Opening 06 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 07        25        31st Floor - UNIT 3103 - Opening 07 - Three Panel Sliding Glass Door   Frame Movement           Replace
                                                                        Opening 08        26        31st Floor - UNIT 3103 - Opening 08 - Triple Single Hung Window        Limited Access
                                                                        Opening 08        26        31st Floor - UNIT 3103 - Opening 08 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 08        26        31st Floor - UNIT 3103 - Opening 08 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 09        27        31st Floor - UNIT 3103 - Opening 09 - Three Panel Sliding Glass Door   Service and Clean
                                                                                                                                                                                                                                                        386




                                                                        Opening 10        28        31st Floor - UNIT 3103 - Opening 10 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 10        28        31st Floor - UNIT 3103 - Opening 10 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 10        28        31st Floor - UNIT 3103 - Opening 10 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 10        28        31st Floor - UNIT 3103 - Opening 10 - Triple Single Hung Window        Frame Joint Damage       Replace




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             GCI CONSULTANTS, LLC

                       Proposed Fee Schedule for Expert Witness Services


                              St. Louis Condominium Association
                                   800 Claughton Island Dr.
                                        Miami, FL 33131




                                       Prepared for:
                                 Mrs. Susan C. Odess, Esq.
                                        SRHL Law
                             201 Alhambra Circle, Eleveth Floor
                                   Coral Gables, FL 33134
                                    sodess@srhl-law.com

                                    SEPTEMBER 26, 2018




    WWW.GCICONSULTANTS.COM
    561.689.0055                        Miami                      West Palm Beach                            Atlanta



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     INTRODUCTION

     GCI Consultants, LLC (GCI) is pleased to present this proposal to SRHL Law (Client), to provide
     Expert Witness Services at St. Louis Condominium Association in Miami, FL as described herein.

     SCOPE OF SERVICES

     Subject to the attached Terms and Conditions and other provisions of this agreement, GCI will
     provide Expert Witness Services on a time plus expenses basis.


                            Resource                                                    Rate
     Principal                                                                             $325.00 per hour
     Engineer/Consultant                                                                   $195.00 per hour
     Inspector                                                                             $135.00 per hour
     CAD Tech                                                                               $95.00 per hour
     Mileage                                                                           at IRS approved rate
     Expenses                                                                                        at cost


     PAYMENT TERMS

     Payment due upon receipt of invoice




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     CONTRACT AGREEMENT ACCEPTANCE

     GCI Consultants, LLC



     By:     Paul E. Beers
             CEO/Managing Member

     Date:



    SRHL Law



     By:

     Date:




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    TERMS AND CONDITIONS

    ARTICLE 1 PROFESSIONAL ENGINEERING SERVICES

    1.1   No Professional Engineering services are anticipated pursuant to this Agreement; however,
          if Professional Engineering services are provided by GCI, such services will be provided in
          conformance with applicable professional engineering standards in effect when the services
          are provided. If GCI’s Professional Engineer was not originally involved in this Agreement
          and GCI deems it necessary for its Professional Engineer to assist GCI in performing this
          Agreement, then GCI reserves the right to involve its Professional Engineer at Client’s
          expense unless the Client objects, in which case, GCI has the right to immediately terminate
          this Agreement irrespective of any notice requirements in this Agreement. If Professional
          Engineering services are provided pursuant to this Agreement, GCI will provide notice to the
          Client prior to providing such services, and a separate agreement will be signed evidencing
          such Professional Engineering services to be performed.

    1.2   IF PROFESSIONAL ENGINEERING SERVICES ARE PROVIDED BY GCI PURSUANT
          TO THIS AGREEMENT, PURSUANT TO FLA. STAT. 558.0035, THE INDIVIDUAL
          PROFESSIONAL ENGINEER, EMPLOYEE, AND/OR AGENT OF GCI MAY NOT BE
          HELD INDIVIDUALLY LIABLE FOR NEGLIGENCE. THIS PROVISION SURVIVES
          THE TERMINATION, FOR ANY REASON, OF THIS AGREEMENT.

    ARTICLE 2 WORK PRODUCT

    2.1   The Client shall not make modifications of any kind to GCI’s work product and/or report,
          including but not limited to printed or printable media produced by GCI.

    2.2   GCI understands that the report issued by GCI may be forwarded to an insurance carrier
          and/or other entity for indemnification, reimbursement, benefits, proceeds, and/or to provide
          monies to cover damages to the property at issue. GCI, however, cannot and does not
          guarantee, make any representations, warranties, and/or promises, explicitly or implicitly,
          that such insurance carrier or other entity will in fact indemnify, reimburse, pay benefits, pay
          proceeds, and/or provide any monies, in full or in part, to cover damages to the property at
          issue based on GCI’s report. Similarly, GCI cannot and does not guarantee, make any
          representations, warranties, and/or promises, explicitly or implicitly, that GCI’s report will
          be accepted, adopted, and/or agreed with by any insurance carrier and/or other entity.

    2.3   GCI is not responsible for any repairs, renovations, fixes, improvements and/or corrections
          of any damages, deviations, and/or deficiencies identified in GCI’s report issued in
          connection with this Agreement; rather, the Client or Property Owner is solely responsible
          for notifying and/or retaining the appropriate party, contractor, subcontractor, and/or
          professional regarding such.

    2.4   The information presented in the GCI report represents the results of GCI’s investigation as
          of the date of the report or the date indicated in the report. If additional information becomes
          available, GCI requests that it be brought to GCI’s attention as soon as possible so that GCI
          can fully address it. Consequently, GCI reserves the right to amend the report should further
          data become available.


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    ARTICLE 3 EXPENSES

    3.1   The Client agrees to reimburse GCI for any expenses that are not within the normal overhead
          of GCI.

    ARTICLE 4 TERMINATION

    4.1   Either GCI or the Client may terminate this agreement with or without cause upon ten (10)
          days written notice. GCI may immediately terminate this agreement for nonpayment. Time
          is of the essence with respect to any payment due to GCI.

    ARTICLE 5 ARBITRATION, LIMITATION OF LIABILITY, WAIVER OF JURY TRIAL, and
    OTHER PROVISIONS

    5.1   Assignment: This agreement may not be assigned without the express written consent of all
          parties to this agreement.

    5.2   Entire Agreement: With the exception of the “Work Order” signed by the Client and the
          “Direction to Pay” signed by the Property Owner, this Agreement constitutes the complete
          and entire agreement between the Parties and revokes and supersedes all prior or
          simultaneous representations, discussions, negotiations, and agreements, whether written or
          oral.

    5.3   LIMITATION OF LIABILITY: The Client clearly, unequivocally, knowingly, and
          voluntarily agrees that the liability of GCI as to any claims arising out of and/or related to
          and/or in connection in any way to this Agreement, whether in tort, contract, and/or for
          statutory violations, shall be expressly limited to the total amount paid to GCI pursuant to
          this Agreement. This limitation of liability has been determined to be supported by an
          analysis of services provided by GCI and the potential impact of such services upon the
          Client. This provision survives the termination, for any reason, of this Agreement.

    5.4   Hazardous Materials: GCI shall have no responsibility for the discovery, presence, handling,
          removal or disposal of or exposure of persons to hazardous materials in any form, including
          but not limited to asbestos, asbestos products, lead paint, polychlorinated biphenyl (PCB),
          toxic mold or other toxic substances.

    5.5   Jurisdiction and Venue: In the event the Arbitration Provision below is deemed waived,
          unenforceable, or inapplicable for any reason, in any lawsuit arising out of and/or related to
          and/or in connection with in any way this Agreement, jurisdiction and venue shall rest solely
          and exclusively in the state and/or federal courts of Palm Beach County, Florida.

    5.6   Governing Law: This Agreement shall be interpreted and governed in accordance with
          Florida law.

    5.7   Attorney’s fees and Costs: In the event of any lawsuit, claim, arbitration, proceeding, and/or
          dispute of any nature arising out of and/or related to and/or in connection with in any way
          this Agreement, including tort, contract, equitable, and/or statutory violations, between GCI


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          and the Client, the prevailing party shall be entitled to reimbursement of all reasonable
          attorney’s fees, expenses, and costs, including but not limited to any attorney’s fees,
          expenses, and costs incurred prior to the initiation, during, and on review/appeal of any such
          lawsuit, claim, arbitration, proceeding, and/or dispute, all of which may be made part of any
          judgment rendered in such lawsuit, claim, arbitration, proceeding, and/or dispute. The
          prevailing party shall be entitled to an award of all reasonable attorney’s fees, expenses, and
          costs incurred regarding the determination of both the entitlement and amount of such
          attorney’s fees, expenses, and costs. The prevailing party shall also be entitled to all
          reasonable attorney’s fees, expenses, and costs incurred in any and all mediations. This
          provision survives the termination, for any reason, of this Agreement.

    5.8   WAIVER OF JURY TRIAL: The parties clearly, unequivocally, knowingly, and voluntarily
          agree to waive their right to a trial by jury in any lawsuit, claim, arbitration, proceeding,
          and/or dispute arising out of and/or related to and/or in connection with in any way this
          Agreement, whether in tort, contract, equity, and/or statutory violations. This provision
          survives the termination, for any reason, of this Agreement.

    5.9   ARBITRATION AND MEDIATION: The parties agree to arbitrate any lawsuit, claim,
          and/or dispute arising out of and/or related to and/or in connection with in any way this
          Agreement, including tort, contract, equitable, and/or statutory violations, pursuant to the
          Rules and Procedures of the American Arbitration Association (“AAA”), Construction
          Industry. The arbitration shall be governed by three arbitrators selected by the rules and
          procedures of the AAA with experience in Construction Industry arbitration and/or litigation.
          The claimant and/or plaintiff shall pay the “Initial Filing Fee” and “Proceed Fee” (if
          applicable); the “Final Fee” shall be paid by the appropriate party as determined by the
          arbitrator(s). The arbitration, including any hearings, shall be held in Palm Beach County,
          Florida. Judgment on the award rendered by the arbitrator(s) may be entered in any court
          having jurisdiction.

              (i) Prior to the initiation of the arbitration set forth above, the parties shall first mediate
          the aforementioned lawsuit, claim, and/or dispute. The mediation shall not proceed pursuant
          to the mediation rules and procedures of the AAA; but instead shall proceed as follows: the
          parties shall mutually agree upon the selection of the mediator. The mediation fees shall be
          paid equally by the parties. The mediation shall be held in Palm Beach County, Florida. The
          mediation process shall be initiated by the claimant/plaintiff putting the respondent/defendant
          on notice in writing of a demand for mediation, including a reasonable description of the
          nature of the dispute and the alleged damages. The respondent/defendant shall respond in
          writing within 30 days to the demand for mediation. If the respondent/defendant does not
          timely respond within 30 days to the demand for mediation, the claimant/plaintiff may
          proceed to arbitration without mediation.

             (ii) This provision survives the termination, for any reason, of this Agreement.

    5.10 If any provision or part of a provision of this Agreement is deemed unenforceable or invalid
         for any reason, the remaining provisions shall remain enforceable, valid, and binding between
         the parties to this Agreement. This provision survives the termination, for any reason, of this
         Agreement.


                                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 001542
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              GCI CONSULTANTS, LLC                                                St. Louis Condominium Association, Miami, FL
                                                                                                          September 26, 2018
                                                                                                                    Page 7 of 7



    5.11 A waiver of any provision or part of a provision of this Agreement, shall not be deemed as a
         waiver of any other provision of this Agreement. This provision survives the termination,
         for any reason, of this Agreement.


    5.12 Electronic Signatures: GCI or the Client may sign this Agreement by e-mail, digitally, or
         facsimile which shall have the same force and effect as a hand-written signature.

    5.13 This agreement is based upon the client providing timely access to all areas for inspection. If
         GCI is delayed with access, we will notify the client of any additional fees via a written
         change order. If there are delays beyond GCI’s control, any additional time needed to
         complete the inspection may not be contiguous.

    ARTICLE 6 Indemnification

    6.1 To the extent permitted by law, the Client shall indemnify, defend, and hold harmless GCI
        (including GCI’s employees, agents, and officers) from any and/or all liability, damages, loss,
        claims, demands, actions, expenses, costs, and/or fees (including attorney’s fees and all costs,
        expenses and fees associated with or incurred in litigation and/or mediation and/or
        arbitration) incurred by GCI arising out of and/or related to and/or in connection with the
        acts, errors, conduct, breaches of duty (contractual, statutory, and/or tort), and/or omissions
        by Client (including Client’s employees, agents, and officers) regarding the work and/or
        services performed or provided by Client to the property owner and/or other individual/entity.


    6.2   Indemnification for GCI’s Alleged Acts:       To the extent permitted by law, the Client
          clearly and unequivocally intends and agrees to indemnify, defend, and hold harmless GCI
          (including GCI’s employees, agents, and officers) from any and/or all liability, damages, loss,
          claims, demands, actions, expenses, costs, and/or fees (including attorney’s fees and all costs,
          expenses and fees associated with or incurred in litigation and/or mediation and/or
          arbitration) incurred by GCI arising out of and/or related to and/or in connection with the
          negligent acts, errors, conduct, and/or omissions, and/or breaches of contractual duties by
          GCI (including GCI’s employees, agents, and officers) regarding the work and/or services
          performed or provided by GCI to the property owner and/or other individual/entity.

    6.3 The Indemnification provisions in this Article 6 survive the termination, for any reason, of
        this Agreement.




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    List of Testimony during the Previous Five Years by Paul E. Beers
    (As of January, 2014)

    Rothal vs. Arvida (Deposition and Class Certification Hearing)
    Ft. Lauderdale, FL

    Ophir Management vs. Tesoro Corp (Deposition)
    Jacksonville, FL

    Westwood Gardens Condominium vs. FIGA (Deposition)
    West Palm Beach, FL

    Somerset Condominium vs. FIGA (Deposition)
    West Palm Beach, FL

    Pine Ridge III vs. FIGA (Deposition)
    West Palm Beach, FL

    Sterling Condominium vs. Citizens Property Insurance (Deposition)
    West Palm Beach, FL

    Cosmoplast vs. Nationwide Insurance (Deposition)
    Ft. Lauderdale, FL

    Reef at Marathon vs. Citizens Property Insurance (Deposition)
    West Palm Beach, FL

    Granada House vs. Citizens Property Insurance (Deposition)
    West Palm Beach, FL

    Architect of the Capitol vs. Grunley Construction (Deposition)
    Washington, D.C.

    Bermuda Isles vs. Westchester Surplus Lines (Deposition)
    Ft. Lauderdale, FL

    Majestic Gardens “D” Condominium Association vs. Citizens Property Insurance (Deposition)
    West Palm Beach, FL

    Judith Perry vs. Citizens Property Insurance Co. (Deposition)
    West Palm Beach, FL



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    Los Palacios vs. Aspen Specialty Lines (Deposition)
    Asheville, NC

    Ocean View Towers Association vs. QBE Insurance Corporation (Deposition)
    West Palm Beach, FL

    Lee Memorial Health System vs. Bovis Lendlease (Deposition)
    Tampa and Miami, FL

    Architect of the Capitol vs. Grunley Construction (Trial)
    Washington, D.C.

    Summit Towers vs. QBE Insurance Corporation (Deposition)
    West Palm Beach, FL

    Diplomat Properties Limited Partnership vs. RC Aluminum Industries (Deposition)
    Fort Lauderdale, FL

    Ocean View Towers Association vs. QBE Insurance Corporation (Trial), Federal Court
    Miami, FL

    Westin Diplomat Resort vs. RC Aluminum Industries (Arbitration Hearing)
    Miami, FL

    Summit Tower Condominium Association vs. QBE Insurance Corporation (Trial), Federal Court
    Miami, FL

    River Oaks Condominium vs. Aspen (Deposition)
    Asheville, NC

    Wynmoor Association (various Condominium Associations within the Wynmoor Community) vs.
    QBE Insurance Corporation (Deposition)
    West Palm Beach, FL

    Tull Brothers vs. Peerless Products (Deposition)
    West Palm Beach, FL

    Braemer Isles Condo Association Inc, vs. OBE Insurance Corporation (Deposition)
    Highland Beach, FL




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    Villages of Emerald Bay Condominium Association, Inc. vs. Certain Interested
    Underwriters at Lloyd’s, London
    Coral Gables, FL

    Kings Bay Condominium Association, Inc. vs. Citizens Property Insurance Corporation (Deposition)
    West Palm Beach, FL

    Lago Grande 6 Condominium Association vs. Certain Underwriters at Lloyd’s of London
    West Palm Beach, FL




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                                                    St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 001547
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                                      386
    DLT BUILDING ADVISORS                                                                     ST LOUIS BRICKELL KEY CONDO ASSOC
    3470 North Miami Avenue                                    State of F orida CGC                        800 C aughton Is and Drive
    Upper Suite                                                       058081                                    Miami, F orida 33131
    Miami, F orida 33127
                                     BUILDING RESTORATION ESTIMATE - DETAIL
    Proper y nspec e800 Claugh on sland Drive                  Total GSF                              ELEVATION
    Loca ion:      Miami, lorida 33131                         128420.60       NORTH          SOUTH            EAST            WEST
    Owner:         S Louis Brickell Key Condo Associa ion       Stucco
                                                                               3157.66        3157.66         9684.40         9684.40
    S ories        31                                          Concrete
    To al Uni s    130                                         Window
                                                                              12630.64       12630.64         38737.60       38737.60
    Claim Ca egory: Hurricane rma - WIND                        Glass
    Es ima e Da e: Oc ober 27, 2017
                                                                TOTAL         15788.30       15788.30         48422.00       48422.00
    Prepared By:    Hec or Torres CGC 058081 -C:754.581.2475

          CSI      Trade                                        UNIT            Qty          Unit Cost                       Subtotal
         1100      Equipment
           1       Heavy Equipmen Ren al - Swing S age            6             MTHS           $36,000                             $216,000
           2       Heavy Equipmen Opera ors                       6             MTHS           $12,300                              $73,800
                                                                              Equipment Subtotal:                                 $289,800
         2100      Demolition
          3        General, ongoing, Prepara ion of si e          6             MTHS           $15,000.00                          $90,000
           4       Debris Removal                                 25             EA            $1,200.00                           $30,000
           5       Hauling of Debris                              25             EA             $650.00                            $16,250
           6       Si e Safe y - Overhead Pro ec ion              6             MTHS         $15,000.00                            $90,000
                                                                                    Demolition Subtotal                           $226,250
         2200      Surveying, Staging & Permitting
          7        Archi ec ural & plans                          1              LS            $22,460.00                           $22,460
          8        Environmen al Consul an - DERM                 1              LS             $2,650.00                            $2,650
           9       Building and Si e Con rol                      1              LS                  $2,500                           $2,500
           10      Si e Boundary Analysis                         1              LS                  $1,500                           $1,500
           11      Benchmarks                                     1              LS                   $850                             $850
           12      Exis ing Condi ions Repor                      1              LS                  $2,500                           $2,500
           13      Miami Dade Coun y Moni oring - DERM            1              LS                  $2,220                           $2,220
                                                                                         Subtotal:                                 $34,680
         3200      Site Safety
           14      Si e Safe y - OSHA COMPL ANCE H GH R SE        6             MTHS           $11,500.00                             $69,000
                                                                                         Subtotal:                                 $69,000
         7100      Waterproofing
          15       General Caulking - Windows/Doors             102,736          S                   $3.50                         $359,578
                                                                                         Subtotal:                                $359,578
         8100      Doors and Hardware
           16      Door & Hardware Package - SGD                       266       EA               $3,500                           $931,000
                                                                                         Subtotal:                                $931,000
         8500      Window, Glass and Glazing
           17      Glazing w/frame - Package                   102,736           S                 $75.00                         $7,705,236
                                                                                         Subtotal:                              $7,705,236
         9260      Framing and Drywall
           18      Drywall Package- nside Uni s                        130       EA             $3,585.00                          $466,050
                                                                                         Subtotal:                                $466,050
         9280      Stucco and Plastering
           19      Ex erior S ucco Repair -                     25,684           S                 $36.00                          $924,628
                                                                                         Subtotal:                                $924,628
         9900      Painting
           20      Pain ing - S ucco ex erior 2 coa s            25,684          S                   $5.85                         $150,252
                                                                                         Subtotal:                                $150,252
        14000      Pools and Spas
           21      Emp y, Acid Wash, Guni e                               1      EA               $15,500                             $15,500
           22      Power wash & repair pool deck                          1      EA                $7,585                               $7,585
                                                                                         Subtotal:                                 $23,085




                                                                         St. Louis - Plaintiff's Expert - DLT Building Advisors' File - 000001
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                   DLT BUILDING ADVISORS                                                                     ST LOUIS BRICKELL KEY CONDO ASSOC
                    3470 North Miami Avenue                                                                        800 C aughton Is and Drive
                                                                    State of F orida CGC 058081
                          Upper Suite                                                                                 Miami, F orida 33131
                      Miami, F orida 33127
                                         BUILDING RESTORATION ESTIMATE - SUMMARY
  Property nspected   800 Claughton sland Drive                     Total GSF                                    ELEVATION
  Location            Miami, Florida 33131                         128420 60               NORTH              SOUTH             EAST            WEST
  Owner               St Louis Brickell Key Condo Association    Stucco/Concrete           3157 66            3157 66          9684 4           9,684
  Stories             31
  Total Units         130                                        Window/Glass             12630 64           12630 64         38737 6          38,738
  Claim Category      Hurricane rma - WIND
  Estimate Date       October 27, 2017                                 Total GSF           15788 3            15788 3          48,422          48,422
  Prepared By         Hector Torres CGC 058081 -C 754 581 2475
         Item         Description                                Mobilization             Materials          Supplies       Equipment            Total Cost
         1000         General Requirements                              $78,000                                   $65,000    $138,000             $281,000
         1100         Equipment                                                                                              $289,800             $289,800
         2100         Demolition                                                                                                                  $226,250
         2200         Surveying                                                                                                                     $34,680
         3200         Site Safety                                                                                                                   $69,000
         7100         Waterproofing                                                                                                               $359,578
         8100         Doors and Hardware                                                                                                          $931,000
         8500         Window, Glass and Glazing                                                                                                  $7,705,236
         9260         Framing and Drywall                                                                                                         $466,050
         9280         Stucco and Plastering                                                                                                       $924,628
         9900         Painting                                                                                                                    $150,252
         14000        Pools & Spas                                                                                                                  $23,085
                      Subtotal Direct Cost                                                                        $65,200       $427,800        $11,460,559
                      General Conditions - Project Supervision         $630,000                                                                   $630,000
                      Subtotal                                         $630,000                        $0         $65,200       $427,800        $12,090,559
                     Contractor's Contingency - 3%                                                                                                $362,717
                     Subtotal                                                                                                                   $12,453,276
      Major Loss tem Construction Management Fee - 5%                                                                                             $604,528
                      Subtotal                                                                                                                  $13,057,804
                      General Liability nsurance - 1 5%                                                                                           $195,867
                      Subtotal                                                                                                                  $13,253,671
                      Overhead - 10%                                                                                                             $1,325,367
                      Profit - 10%                                                                                                               $1,457,904
                      Bond                                                                                                                            NC
                      Total Restoration Estimate                                                                                              $16,036,942




                                                                                   St. Louis - Plaintiff's Expert - DLT Building Advisors' File - 000002
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    DLT GLOBAL
    CGC 058081
    Development and Building Advisors
    3470 North Miami Ave
    Upper Suite
    Miami, Florida 33127
    (a division of Delatorres Industries, LLC)




                                                 FEE SCHEDULE
                                                    AS OF JANUARY 1, 2018




    BUILDING INSPECTION & CLAIM ANALYSIS = $ 5,000.00 minimum
    LITIGATION EXPERT WITNESS SUPPORT = $ 2,500.00 minimum
    DEVELOPMENT & CONSTRUCTION MANAGEMENT = $ 18,500 Monthly minimum
    BUILDING ESTIMATING = $ 7,500 minimum



     The hourly billing rates for services of the Consultant for Additional Services above Lump Sum pricing, if any, are
    set forth below.



     Employee or Category                                      Rate
     Consultants Employees:
     Principal                                                 $350.00
     Project Engineer                                          $200.00
     Clerical Staff                                            $ 85.00

     Out of pocket expenses/travel/printing/meals, etc….       At cost, plus 15% administration fee




                                                               St. Louis - Plaintiff's Expert - DLT Building Advisors' File - 000003
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    DLT GLOBAL
    CGC 058081
    Development and Building Advisors
    3470 North Miami Ave
    Upper Suite
    Miami, Florida 33127
    (a division of Delatorres Industries, LLC)




               EXPERT DEVELOPMENT & BUILDING CASES

    PROJECT:                                         LAW FIRM:

    Marquis Residence and Hotel Tempo Spa            AKERMANN SENTERFITT
    Miami Florida
    68 Stories
    306 Condominium Unit – 56 Key Hotel & Spa

    Soleil Residences, Miami Florida                  AKERMANN SENTERFITT
    35 Stories
    345 Condominium Units

    Blvd 57 Residences, Miami Florida                 BILZIN SUMBERG
    8 Stories
    86 Condominium Units/Retail

    Vitri Residences & Hotel, Miami Beach, Florida     BROAD & CASSELL
    5 Story
    Hotel & Residences

    Everglades on the Bay, Miami Florida               GREENBERG TRAURIG
    Twin 52 Story Towers
    836 Residences/Retail

    Capital at Brickell, Miami, Florida                GREENBERG TRAURIG
    Twin 58 Story Towers
    785 Residences/Retail

    Design 41, Miami Florida                           DWAYNE MORRIS LLP
    6 Story Office Building
    Design District Office/Retail




                                                     St. Louis - Plaintiff's Expert - DLT Building Advisors' File - 000004
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